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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                              :
UNITED STATES OF AMERICA
                                              :

        v.                                    :     Criminal No. DKC 10-0249

                                              :
RICO TOLIVER
                                              :

                            MEMORANDUM OPINION AND ORDER

        Pending before the court are (1) a motion filed by the

Government      to    dismiss    count       three    of    the    indictment    without

prejudice (ECF No. 371), and (2) a motion filed by Defendant

Rico    Toliver      to    dismiss    that    count      with     prejudice    due    to   a

speedy       trial   violation       (ECF     No.    372).         For   the   following

reasons, count three will be dismissed without prejudice.

        On May 1, 2010, Defendant was charged by a sealed criminal

complaint with conspiracy to distribute controlled substances.

He had an initial appearance on May 3 and counsel was appointed

on the same date.             An indictment, filed May 12, 2010, charged

him with conspiracy to distribute and possess with intent to

distribute fifty grams or more of cocaine base, cocaine, and PCP

between October 2009 and May 2010.                         A superseding indictment

returned the following month added additional co-conspirators.

After    pretrial         proceedings,      the   case     was    eventually    set    for

trial to begin May 17, 2011.                  Just before the start of trial,
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the   Government     advised   that    it   had   received      evidence      that

Defendant     made   threats   aimed   at     preventing    a   witness       from

testifying.     At a telephone conference, the trial was postponed

to August 23, 2011, while the parties briefed and the court

resolved issues relating to the alleged threats.

      The Government recited the setting for the relevant issues

as follows:

                 Beginning    in     February     2010   and
            continuing through May 2010, in court-
            authorized   wiretaps     the   defendant    was
            intercepted arranging and conducting cocaine
            and    phencyclidine       transactions     over
            telephones belonging to Toliver and other
            coconspirators.   On May 11, 2011, more than
            one year after Toliver was arrested on a
            complaint leading to the indictment in the
            pending trial, a cooperator came forward
            with    information     that      Toliver    was
            threatening to harm the family of a co-
            defendant    that    the     [G]overnment    had
            disclosed   would    be    testifying    against
            Toliver. Specifically, the [G]overnment had
            notified Toliver[,] and his counsel, that
            the co-defendant would, in addition to
            identifying Toliver’s voice, explain the
            partially coded intercepted conversations in
            which the co-defendant and Toliver conducted
            a series of drug transactions.

                 The cooperator agreed to attempt to
            document a reprise of Toliver’s previously
            expressed threats.    Toliver had been and
            continued to remain in the same section of
            the Correctional Treatment Facility (CTF) in
            Washington, D.C., with the cooperator.    On
            May 14, 2011, the cooperator was given a
            recording    device   and    very   specific
            instructions on its use, specifically, that
            he   only   attempt  to   record  statements
            relating to threats against the cooperating

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             witness or witness tampering.     Later that
             same day, the cooperator had a recorded
             conversation with Toliver, during which
             Toliver repeated and even expanded upon his
             earlier threats against the Government’s
             witness and elaborated on how he had told
             the witness to testify untruthfully.

(ECF No. 231, at 2).            A second superseding indictment, filed

August     10,    2011,     added,    inter      alia,    a     charge       of     witness

tampering against Defendant.

     On     August    12,     2011,    the      court     ruled       that    the    Sixth

Amendment would not allow admission of the recorded evidence at

a trial on the drug-related charges, although the evidence might

be admissible at a separate trial as to the witness tampering

charge.     After an unrecorded telephone conference, trial began

on August 23, 2011, on counts one and two, and count three was

severed for later trial.

     Mr. Toliver was found guilty on the first two counts and

sentencing was set for November 21, 2011.                      Defense counsel was

permitted    to     withdraw,    new       counsel      was    appointed,         and   the

sentencing hearing was postponed.                Mr. Toliver was sentenced on

counts one and two on May 10, 2012.                        Thereafter, the court

inquired of the Government as to the status of count three,

prompting the filing of the pending motions.

     The     Government       seeks    to       dismiss       count    three        without

prejudice,       reasoning    that    as     long    as   Defendant          is   under   a

sentence of life imprisonment on counts one and two, it will not

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seek to try him on count three.                 If, however, those convictions

are vacated or remanded for resentencing, the Government might

want to pursue the charge in count three.                    The defense objects

to any dismissal without prejudice and argues that there has

already been a speedy trial violation, justifying dismissal with

prejudice at this time.

        Because the defendant was involved in a trial (including

sentencing) on counts one and two for virtually the entire time

the superseding indictment has been pending, there has been no

speedy       trial   violation   and     the    government      may     dismiss   count

three    without       prejudice.        Title      18   U.S.C.    §    3161(h)(1)(B)

provides that delay resulting from trial with respect to other

charges against a defendant is excluded.                     In United States v.

Shear, 825 F.2d 783 (4th Cir. 1987), the court found that the

entire       time    from   arrest    through    sentencing       on    other   charges

constituted a “trial.”           Because there has not, to date, been any

speedy trial violation, the Government may dismiss count three

without prejudice.

        For the foregoing reasons, it is this 31st day of May, 2012,

by   the      United    States       District    Court    for     the    District     of

Maryland, ORDERED that:

        1.     The Government’s motion to dismiss count three without

prejudice (ECF No. 371) BE, and the same hereby IS, GRANTED;



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     2.   Defendant’s        motion   to    dismiss    count     three       with

prejudice (ECF No. 372) BE, and the same hereby IS, DENIED;

     3.   A judgment of conviction will be ENTERED; and

     4.   The clerk will transmit copies of this Memorandum and

the Judgment to counsel for the parties.



                                           ________/s/_________________
                                           DEBORAH K. CHASANOW
                                           United States District Judge




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